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8                                UNITED STATES DISTRICT COURT

9                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

10
                                                     )   Case No. 2: 12-CR – 0095 - WBS
11   United States of America,                       )
                                                     )
12                  Plaintiff,                       )   STIPULATION AND ORDER
                                                     )   CONTINUING STATUS CONFERENCE
13          vs.                                      )   AND EXCLUDING TIME
                                                     )
14   Dennis William Estes and Kevin Webber,          )
                                                         Date: October 1, 2012
                                                     )
15                  Defendant                        )   Time: 9:30 a.m.
                                                     )   Judge: Hon William B. Shubb
16                                                   )
                                                     )
17                                                   )
                                                     )
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20                                              ORDER
21
            GOOD CAUSE APPEARING, based on the Stipulation of the parties, IT IS HEREBY
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     ORDERED that the status conference is continued to November 5, 2012 at 9:30 a.m. For the
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     reasons recited above, the Court finds that the ends of justice to be served by a continuance
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1    outweigh the best interests of the public and the defendants in a speedy trial and therefore

2    excludes time under the Speedy Trial Act through November 5, 2012.

3    IT IS SO ORDERED.
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     Dated: September 26, 2012

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